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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF GEORGIA

VALDOSTA DIVISION

JERRY McLEOD, *
*

Plaintiff, *

*

Vv. * Civil Action No. 7:20-cv-244

*

MIKE DEWEY and MIKE BASS, *
*

*

Defendants.

DECLARATION OF BRADLEY J. WATKINS

PERSONALLY APPEARED before the undersigned officer duly authorized to
administer oaths under the laws of the State of Georgia, Bradley J. Watkins, who,
after being sworn on oath, deposes and states as follows:

1. I have personal knowledge of the facts stated in this Declaration. I am
over twenty-one (21) years of age. Iam under no legal disability, and I am competent
to make this Declaration.

2. I currently lead counsel for the Defendants in this action.

3. On or about January 23, 2023, Defendants served Requests for
Admissions (“RFAs’”) on Plaintiff. A true and correct copy of the RFAs served on
Plaintiff are attached to Defendants’ Memorandum of Law in support of Defendants’
Motion for Summary Judgment. See Ex. C to Defs.’ Memo. of Law in Support of MSJ.

4. Plaintiff failed to respond to Defendants’ RFAs and Defendants have
never received any response to this discovery request.

[Signature on following page]
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This 5th day of February 2024.

Bradley & Watkins

Attorney for Defendants

Sworn to and subscribed before me this

BP tay of Fe Cora, 2024.

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Ati, inact

Notary Public

jprrveece, _ (SEAL)

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Notary Public, Glynn County, Georgia
My commission expires November 21, 2026
